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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                          CRIMINAL NO. 17-cr-00205-03

 VERSUS                                            CHIEF JUDGE HICKS

 DENNIS L. DAVIS                                   MAGISTRATE JUDGE HORNSBY


                         REPORT AND RECOMMENDATION

        Upon the request of the District Judge, and with the written and oral consent of

 Defendant, this matter came before the undersigned U.S. Magistrate Judge on January 12,

 2018, for administration of a felony guilty plea under Rule 11 of the Federal Rules of

 Criminal Procedure. Defendant was present with counsel, Pete Kammer.

        After the hearing, it is the finding of the undersigned that: (1) Defendant is fully

 competent to enter this guilty plea; (2) the plea agreement was properly signed and filed;

 (3) Defendant’s guilty plea to Count 3 of the Indictment was freely and voluntarily entered,

 with a full understanding of the nature of the charge and the maximum penalties; (4)

 Defendant made a knowing and voluntary waiver of the right to a jury trial with the full

 assistance of counsel; (5) the guilty plea is fully supported by the factual basis for each of

 the essential elements of the offense; and (6) the plea agreement represents the entire

 agreement between the parties; there are no side agreements between the parties. Both the

 Government and Defendant waived their right to object to the Report and

 Recommendation. Accordingly,



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         IT IS RECOMMENDED that the District Judge accept the guilty plea of

 Defendant in accordance with the terms of the plea agreement filed in the record of these

 proceedings, and that Defendant be adjudged guilty of the offense charged in Count 3 of

 the Indictment.

         IT IS FURTHER RECOMMENDED that, pursuant to the parties’ waiver of their

 right to object, that the District Judge immediately adopt this Report and Recommendation

 without passage of the customary delays.

         THUS DONE AND SIGNED in Shreveport, Louisiana, this 18th day of January,

 2018.




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